                                                                                      Motion GRANTED.
                                                                                      Hearing reset for
                            UNITED STATES DISTRICT COURT
                                                                                      4/8/13 at 3:00 p.m.
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )        NO. 3:13-cr-00012
                                               )
                                               )         JUDGE TRAUGER
BRENDA EDWARDS                                 )



                            GOVERNMENT’S MOTION TO
                     RESCHEDULE HEARING TO REVIEW DETENTION

       The United States of America, by and through its undersigned attorney, hereby requests that

the Court reschedule the hearing in this case presently set for April 10, 2013 at 2:00 p.m. In support

of its request, the Government submits the following:

       1.      On March 23, 2013, the Defendant moved for review of her detention. The Court set

a hearing on the Defendant’s motion for April 10, 2013 at 2:00 p.m.

       2.      The case agent for the case is scheduled to be at training in Charleston, South

Carolina from April 9, through April 11, 2013. The Government anticipates calling the case agent

to testify in the hearing presently scheduled for April 10, 2013. Wherefore, the Government requests

the Court reschedule the hearing for April 8, April 12, 2013, April 15 through 18, or April 22

through 25, 2013. Defense Counsel has indicated he does not object to resetting the hearing for

April 8, or April 12, 2013.




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